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                                           EXHIBIT "A"

                     PLEADINGS THAT ASSERT CAUSES OF ACTION

1.       Plaintiffs Original Petition




PD.16618780.1
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                                                                                                      1/6/2015 6:37:04 AM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No. 3658166
                             2015-00310 / Court: 127                                                  By: Carolyn Overton
                                                                                               Filed: 1/6/2015 6:37:04 AM

                                          NO.

ADAMS RESOURCES & ENERGY,                              IN THE DISTRICT COURT OF
INC., ADA RESOURCES, INC. and
ADAMS RESOURCES
EXPLORATION COMPANY,

               Plaintiffs,
                                                       HARRIS COUNTY, TEXAS
MA


RANGER INSURANCE COMPANY
n/k/a FAIRMONT SPECIALTY
INSURANCE COMPANY,

               Defendant.                                      JUDICIAL DISTRICT



                              PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF THIS COURT:

         COME NOW, Adams Resources & Energy, Inc., ADA Resources, Inc., and Adams

Resources Exploration Company, and file this Original Petition, complaining of Ranger

Insurance Company n/k/a Fairmont Specialty Insurance Company, and for cause of action would

show as follows:

                                             PARTIES

         1.    Plaintiff Adams Resources & Energy, Inc. ("Adams Resources") is a corporation

organized under the laws of the State of Delaware with its principal place of business in Houston,

Texas.

         2.    Plaintiff Ada Resources, Inc. ("Ada Resources") is a corporation organized under

the laws of the State of Texas with its principal place of business in Houston, Texas.
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        3.      Plaintiff Adams Resources Exploration Company ("Adams Exploration") is a

corporation organized under the laws of the State of Delaware with its principal place of business

in Houston, Texas.

        4.      Adams Resources, Ada Resources and Adams Exploration will be collectively

referred to as "Plaintiffs."

        5.      Defendant Ranger Insurance Company n/k/a Fairmont Specialty Insurance

Company ("Fairmont") is, upon information and belief, a corporation organized under the laws

of the State of California with its principal place of business in New Hampshire. Fairmont can

be served by serving its registered agent: CT Corporation System, 1999 Bryan Street, Suite 900,

Dallas, Texas 75201-3136.

                                  JURISDICTION AND VENUE

        6.      The damages sought herein are within the jurisdictional limits of this Court.

        6a.     Pursuant to Texas Rule of Civil Procedure 47, Plaintiffs are not yet certain of the

amount of damages and will supplement.

        7.      All or a substantial part of the events or omissions giving rise to the claims

asserted herein occurred in Harris County, Texas. Venue is therefore proper in Harris County,

Texas pursuant to Section 15.002(a)(1) of the Texas Civil Practice & Remedies Code.

        8.      Plaintiffs and Fairmont are parties to a Tolling and Standstill Agreement

providing that the forum for any suit between them relating to the claims asserted herein shall be

the state district court in Harris County, Texas.




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                                      FACTUAL BACKGROUND

        9.      For good and valuable consideration, Fairmont issued several general liability

insurance policies providing coverage to Plaintiffs. These policies (hereinafter "the Policies")

include, but are not limited to:

        Policy No.                 Dates of Coverage

        CGA 499741                 O1/01/1977-01/0111978

        CGA 502765                 01/01/1978 — 01/01/1979

        CGA 505218                 01/01/1979 — 01/01/1980

        CGA 505245                 01/01/1980 — 01/01/1981

        CGA 505680                 01/01/1981 —01/01/1982

        CGA 600009                 01/01/1982 — 01/01/1983

        CGA 600024                 01/01/1983 — 01/01/1984

        CGA 600806                 01/01/1984-01/01/1985

        CGA 600819                 01/01/1985 — 03/01/1986

        10.      On or about March 5, 2004, Le Petit Chateau de Luxe and Phillip I. Desourmeaux

filed suit against Plaintiffs, along with several other defendants, in the Civil District Court for the

Parish of Orleans in the State of Louisiana ("Underlying Lawsuit"). The Underlying Suit alleged

that the plaintiffs were owners, residents and/or users of property that had been damaged as a

result of activities by Plaintiffs.

        11.     Plaintiffs were served with the Underlying Suit on or about March 17, 2004. On

or about March 30, 2004, Fairmont was provided with written notice of the Underlying Lawsuit.

        12.      On or about August 6, 2004, Fairmont notified Plaintiffs that it was refusing to

provide them with coverage for the Underlying Lawsuit. Fairmont filed a lawsuit against



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Plaintiffs on the same date seeking a declaratory judgment that there was no coverage under the

Policies for the claims asserted against Plaintiffs in the Underlying Lawsuit ("Coverage

Lawsuit"). Plaintiffs and Fairmont subsequently entered into a Tolling and Standstill Agreement

and the Coverage Lawsuit was dismissed. Plaintiffs are filing this suit because the Underlying

Lawsuit is still ongoing and Fairmont has refused to extend the parties' tolling agreement.

        13. The claims asserted against Plaintiffs in the Underlying Litigation are covered

under the terms of the Policies. Fairmont, however, has refused to comply with the terms of the

Policies.

                                      CAUSES OF ACTION

                            COUNT I — BREACH OF CONTRACT

        14,    Paragraphs 1 through 13 above are incorporated by reference,

        15.    Despite its contractual obligations, and its willing acceptance of insurance

premiums, Fairmont has failed to fulfill its contractual obligations with regard to the Policies.

Fairmont's failure to fulfill its contractual obligations constitutes a material breach of the

Policies.

        16.    As a direct and proximate result of Fairmont's breach of the Policies, Plaintiffs

have suffered significant damages.

        17.    Plaintiffs have been required to engage the undersigned attorneys in connection

with their prosecution of this matter. Plaintiffs are entitled to recover their reasonable and

necessary attorneys' fees incurred in the prosecution of this matter pursuant to § 38.01 of the Texas

Civil Practice & Remedies Code.

       COUNT II— VIOLATIONS OF THE TEXAS INSURANCE CODE—UNFAIR
                         SETTLEMENT PRACTICES

        18.    Paragraphs 1 through 17 above are incorporated by reference,


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        19.    In its dealings with Plaintiffs, Fairmont has engaged in unfair claim settlement

practices in violation of Chapters 541 and 542 of the Texas Insurance Code. One or more of the

following evidences Fairmont's unfair claim settlement practices:

        a,      failing to attempt in good faith to effectuate a prompt, fair and equitable
                settlement of claims with respect to which liability has become reasonably clear;

        b.     failing to provide promptly to Plaintiffs a reasonable explanation of the basis in
               the Policy, in relation to the facts or applicable law, for its denial of claims;

        c.     failing within a reasonable time to affirm or deny coverage of Plaintiffs' claims;
               and

        d.     refusing to pay claims without conducting a reasonable investigation with respect
               to the claims,

        20.    Plaintiffs have suffered damages as a proximate result of the foregoing conduct by

Fairmont and are entitled to recover their actual damages, court costs, and reasonable and

necessary attorneys' fees.

        21.    As a result of Fairmont's knowing violations of the Texas Insurance Code,

Plaintiffs are also entitled to recover up to three times the amount of their actual damages.

    COUNT III — BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

        22.    Paragraphs 1 through 21 above are incorporated by reference.

        23.    The relationship between an insurer and its insured is a special relationship. That

special relationship imposes a duty on an insurer to deal fairly and in good faith with its insured.

By virtue of the Policies, and the relationship between the parties, Fairmont owed and continues

to owe Plaintiffs a duty of good faith and fair dealing under Texas law.

        24.    Fairmont has breached the duty of good faith and fair dealing in at least one or

more of the following ways:

        a.     failing to attempt in good faith to effectuate a prompt, fair and equitable
               settlement of claims with respect to which liability has become reasonably clear;


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       b.      failing to provide promptly to Plaintiffs a reasonable explanation of the basis in
               the Policy, in relation to the facts or applicable law, for its denial of claims;

       c.      failing within a reasonable time to affirm or deny coverage of Plaintiffs' claims;
               and

       d.      refusing to pay claims without conducting a reasonable investigation with respect
               to the claims.

       25.     Plaintiffs have suffered damages as a proximate result of the foregoing conduct by

Fairmont. Fairmont's conduct was committed with malicious intent; therefore, Plaintiffs are

entitled to an award of exemplary damages in an amount determined by the trier of fact.

  COUNT IV — VIOLATIONS OF THE TEXAS INSURANCE CODE—PROCESSING
                     AND SETTLMENT OF CLAIMS

       26.     Paragraphs I through 25 above are incorporated by reference.

       27.     In its dealings with Plaintiffs, Fairmont has failed to comply with certain

deadlines imposed by Chapter 542 of the Texas Insurance Code for acknowledging, accepting or

rejecting, and paying a claim. Among other things, Fairmont:

       a.      failed to notify Plaintiffs in writing of the acceptance or rejection of their claim
               not later than the 15` h business day after the date Fairmont received the claim; and

       b.       delayed payment of the claim for more than 60 days.

       28.     As a result of Fairmont's violations of the Texas Insurance Code, Plaintiffs are

entitled to interest on the amount of their claim at the rate of 18 percent a year together with

reasonable attorneys' fees.

                                 CONDITIONS PRECEDENT

       29.     All conditions precedent have been performed, occurred or been waived.




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                                           RESERVATION

        30.     Plaintiffs have incurred and may incur in the future losses as a result of claims in

addition to those specifically identified herein. Plaintiffs reserve their right to claim against, and if

necessary to sue, Fairmont for insurance proceeds and other damages and legal remedies to which

Plaintiffs may be entitled in connection with such losses.

                                           JURY DEMAND

        31.     Plaintiffs demand a jury trial.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that Fairmont be cited to appear and answer herein, and that

after a final trial on the merits, the Court enter judgment awarding Plaintiffs the following:

        a. actual damages;

        b. attorneys' fees;

        c, pre judgment and post judgment interest as allowed by law at the maximum legal rate;

        d. costs of court;

        e. exemplary and/or treble damages; and

        f. all such other and further relief, both general and special, at law and in equity, to which
           Plaintiffs may be justly entitled.




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                                     Respectfully submitted,


                                     By: c\ L)€ r\
                                          Michael E. Richardson
                                           State Bar No. 24002838
                                            mrichardson(c~r~,be ckredden. cons
                                     BECK REDDEN LLP
                                     1221 McKinney Street, Suite 4500
                                     Houston, Texas 77010-2010
                                     (713) 951-3700
                                     (713) 9513720 (Fax)

                                     ATTORNEY FOR PLAINTIFFS
                                     ADAMS RESOURCES & ENERGY, INC.,
                                     ADA RESOURCES, INC. AND
                                     ADAMS RESOURCES EXPLORATION
                                     COMPANY
